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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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12     James Shayler,                            Case No.: 2:20-cv-07180-MWF-PVC
13                 Plaintiff,                    Hon. Michael W. Fitzgerald
14         v.
15                                               ORDER FOR DISMISSAL WITH
       Percy Rentals LLC, a California Limited   PREJUDICE
       Liability Company; and Does 1-10,
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                   Defendants.                   Action Filed: August 10, 2020
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                                                 Trial Date: Not on Calendar
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                                 ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:20-cv-07180-MWF-PVC Document 27 Filed 05/03/21 Page 2 of 2 Page ID #:119



 1           Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2     it, and being fully advised finds as follows:
 3           IT IS ORDERED THAT:
 4           Plaintiff James Shayler’s action against Defendant Percy Rentals LLC is dismissed
 5     with prejudice. Each party will be responsible for its own fees and costs.
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 7     Dated: May 3, 2021
                                                       MICHAEL W. FITZGERALD
 8                                                     United States District Judge
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                                ORDER FOR DISMISSAL WITH PREJUDICE
